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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

ROSHUNTI MCCRAY,

       Plaintiff,

v.                                                      CASE NO: 8:10-cv-2459-JDW-AEP

FEDERAL BOND & COLLECTION
SERVICES, INC.,

      Defendant.
____________________________________/

                                   ORDER OF DISMISSAL

       BEFORE THE COURT is the parties’ Joint Stipulation for Dismissal with Prejudice (Dkt.

13). The stipulation is approved. Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), this cause has been

DISMISSED with prejudice. The Clerk is directed to CLOSE this case.

       DONE AND ORDERED this 29th day of April, 2011.




                                             /s/ James D. Whittemore
                                             JAMES D. WHITTEMORE
                                             United States District Judge
Copies to:
Counsel of Record
